          Case 1:21-cr-00656-LGS Document 89
                                          88 Filed 02/23/24
                                                   02/21/24 Page 1 of 3
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                             Maksim Nemtsev, P.C.
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                                       Boston, MA 02116
Phone: (617) 227-3700
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Fax: (718) 701-5922
E-Mail: max@mnpc.law
                                     February 21, 2024
                                 Application Granted. Defendant is permitted to travel to Albania on
VIA ECF
                                 February 29, 2024, and must return to the United States no later than
The Honorable Lorna G. Schofield
                                 March 12, 2024. Defendant shall provide his probation officer with his
United States District Court
                                 itinerary in advance of any travel. The Clerk of the Court is directed to
Southern District of New York
                                 terminate the letter motion at docket number 88.
40 Foley Square
New York, NY 10007               Dated: February 23, 2024
                                    New York, New York
RE:     United States v. Enald Beqiraj, Docket No. 21-cr-656 (LGS)
        Request to Permit Travel to Albania to Visit Ailing Grandparent from Feb. 29 to Mar. 12

Dear Judge Schofield:

        I am an attorney for Enald Beqiraj and respectfully request this Honorable Court to
permit Mr. Beqiraj to travel to Albania for two-weeks from February 29 to March 12 so that he
can visit his grandfather who is suffering from senile dementia and whose condition has recently
worsened. This Honorable Court denied a similar request while Mr. Beqiraj was on conditions of
pre-trial release, see Dkt. 43. Since then, Mr. Beqiraj has been sentenced, has served his term of
imprisonment, and is now serving his term of supervised release. Mr. Beqiraj has made the
required restitution payments under the terms specified by the Probation Office and has
completed his mental health assessment. He is in the process of finding employment and expects,
based on a formal job offer, that he will be able to rejoin his prior employer starting on March
18, 2024.

        Mr. Beqiraj’s grandfather, who raised Mr. Beqiraj as a child, was diagnosed with senile
dementia and other medical conditions years ago.1 Mr. Beqiraj’s mother, who is already in
Albania, reports that his condition is worsening. A letter from Mr. Beqiraj detailing the
significance of this trip for him is attached as Exhibit 1.

        Mr. Beqiraj’s Probation Officer, Carolina Aparicio-Santiago, notified the undersigned
that Mr. Beqiraj is compliant with all the terms of his supervised release, including his restitution
and mental health counseling obligations, but that the Probation Office opposes the travel request
because Mr. Beqiraj does not have current employment and that any funds spent on the trip
should be paid towards restitution. In response, the defense respectfully states that Mr. Beqiraj
has diligently searched for employment for the last three months and has not received any offers
other than the offer from his prior employer, the start date of which will not be

1
 Medical records confirming the diagnoses have been submitted to the Probation Office. If this
Honorable Court requires the medical records, we respectfully request that the records relating to
Mr. Beqiraj’s grandfather be filed under seal.
          Case 1:21-cr-00656-LGS Document 89
                                          88 Filed 02/23/24
                                                   02/21/24 Page 2 of 3
                                                                      2




impacted by this trip. Mr. Beqiraj completes job applications through the internet and will
continue to apply during the duration of this trip. Furthermore, Mr. Beqiraj’s plane ticket was
paid for by his mother and his expenses during the trip (where he will be staying at the family’s
home in Albania) are not expected to exceed his basic living expenses in the United States.
AUSA Kedar Bhatia has moved to the U.S. Attorney’s Office in Los Angeles and no AUSA is
presently assigned to this case. If this Honorable Court requires the government’s position, the
defense will request that a prosecutor from U.S. Attorney’s Office in SDNY be assigned.

       We appreciate Your Honor’s attention and consideration

                                                            Respectfully,

                                                            Maksim Nemtsev


CC:    Carolina Aparicio-Santiago
       United States Department of Probation (by email)
        Case
         Case1:21-cr-00656-LGS
              1:21-cr-00656-LGS Document
                                 Document88-1
                                          89 Filed
                                              Filed02/23/24
                                                    02/21/24 Page
                                                              Page31ofof31




Dear Judge Schofield,

I am writing to request permission to travel to Albania to visit my grandfather, who is
suffering from senile dementia. This trip holds profound significance for me, as my
grandfather was one of the people that raised me. Regrettably, opportunities to spend
time with him have been scarce over the years. With each passing day, his health
deteriorates, and his memory fades, underscoring the urgency to be by his side,
alongside my parents, during this challenging time.

I assure you that my proposed visit to Albania will not impede upon my personal
responsibilities or obligations. Throughout my supervised release period, I have
remained steadfast in fulfilling all requirements, collaborating closely with my probation
officer to uphold my commitments.

Your understanding and compassion regarding this matter would be deeply appreciated.

Thank you for your attention to this request.

Sincerely,
Enald Beqiraj
